 Case: 2:22-cv-02653-ALM-CMV Doc #: 109-2 Filed: 06/13/24 Page: 1 of 1 PAGEID #: 3386




                                                           Illinois
FmnLLC-5.5                                      Limited Liability Company Act
                                                                                               FILE # 12938845
                                                  Articles of Organization
                                                                                                          FILED
Secretary of State Alexi Giannoullas
Department of Business Services Llmtted   Filing Fee:         $150                                    MAR D7 2023
Liability Division                                                                                  Alexi Giannoulias
wv.w.ilsos.gov                            Approved By:        MME                                   Secretary of State

1.    Limited Liability Company Name: .:E:.::;D..;.V.;..;A;;..;Nc.;:;C~E~LL:a.;C;...__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



2.    Address of Principal Place of Business where records of the company will be kept:
      2833 THAYER STREET

      EVANSTON, IL 60201-1362

3.    The Limited Liability Company has one or more members on the filing date.
4.    Registered Agent's Name and Registered Office Address:
         DOUG SWANSON
         137 NOAK PARK AVE STE 320
         OAK PARK, IL 60301-1339

5.    Purpose for which tho Limited Liability Company is organized:
      "The transaction of any or all lawful business for which Limited Liability Companies may be organized under this Ace
6.    The LLC is to have perpetual existence.
7.    Name and business addresses of all the managers and any member having the authority of manager:
     HOISINGTON HUTCHINSON. ANNE C.
     2833 THAYER STREET
     EVANSTON. ll 60201




8.   Name and Address of Organizer
     I affirm, under penalties of pe~ury, having authority to sign hereto, that these Articles of Organization are to the best
     of my knowledge and belief, true, correct and complete.

     Dated: MARCH 07, 2023                  ANNE C. HOISINGTON HUTCHINSON
                                            2833 THAYER STREET
                                            EVANSTON, IL 60201

                                                                                                         DEFENDANT'S
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